   Case 3:19-md-02885-MCR-HTC Document 1009 Filed 02/25/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                             Judge M. Casey Rodgers
This Document Relates to All Cases           Magistrate Judge Gary R. Jones


                        PRETRIAL ORDER NO. 28
            Discovery & Trial Schedule for Initial Bellwether Cases

      The Court adopts the following discovery and trial schedule for the initial
bellwether cases, which was jointly proposed by the parties.

2/25/2020         Parties’ initial bellwether selections complete
                  Parties may begin serving interrogatories and requests for case-
2/26/2020
                  specific production of documents for bellwether discovery pool
3/09/2020         Authorizations must be provided to obtain records

                  Deadline for parties to respond to written discovery (subject to
5/15/2020
                  record collection completion from the government)

                  Core Discovery Completion Date (depending on the
7/31/2020         government’s responses to document and deposition requests);
                  Maximum of four case-specific depositions per side

                  The Court will create four trial groups—Trial Group A, Trial
                  Group B, Trial Group C, and Trial Group D—and assign five
                  non-alternate cases to each group. To the extent any of the non-
7/31/2020
                  alternate cases have been dismissed, the cases will, at the Court’s
                  discretion, be replaced by the Court with one of the backup
                  cases.
    Case 3:19-md-02885-MCR-HTC Document 1009 Filed 02/25/20 Page 2 of 2




                      Supplemental Fact Discovery for Trial Group A cases. 1 The
                      parties will discuss what, if any, supplemental fact discovery is
 8/04/2020
                      required and must seek the Court’s assistance if they are unable
                      to reach agreement.

                      Fact Discovery Completion Date for Trial Group A cases
 9/25/2020            (depending on the government’s responses to document and
                      deposition requests) 2

 10/02/2020           Plaintiffs’ Expert Disclosures on Trial Group A cases due
 11/02/2020           Defendants’ Expert Disclosures on Trial Group A cases due

 11/11/2020           Plaintiffs’ expert witness rebuttal reports due

                      Depositions of Plaintiffs’ and Defendants’ Experts Completion
                      Date (Depositions will be phased so that the deposition of
 12/23/2020
                      plaintiffs’ expert on a particular topic occurs prior to the
                      deposition of defendants’ expert on that same topic)
                      Case-specific Daubert and dispositive motions due for case(s) in
 1/08/2021
                      first trial
 April 2021           First bellwether trial begins (assuming Lexecon waivers)

      DONE AND ORDERED, on this 25th day of February, 2020.


                                     M. Casey Rodgers
                                     M. CASEY RODGERS
                                     UNITED STATES DISTRICT JUDGE




      1
          Deadlines for Group B will commence 45 days later; Group C will commence 90 days
later; and, Group D will commence 135 days later.
      2
          This deadline may not be extended without leave of court.
